PROB. 12

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U.S.A. vs. Lee Bradford Arberg Docket No.2:02CR20357-00

 

 

 

Petition on Probation and Supervised Release

COMES NOW DAWN L. BROWN , PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Lee Bradford Arberg, who was placed on supervision by the
Honorable J on Phipps McCalla sitting in the Court at Memphisa TN , On the 14th day of J_u]y_,2003, Who fixed
the period of supervision at three 13 l years*, and imposed the general terms and conditions theretofore adopted
by the Court and also imposed Special Conditions and terms as follows:

1. The defendant shall not possess any firearms or other dangerous weapons.
2. The defendant shall seek and maintain employment
3. The defendant shall pay $643,976.42 restitution. (Balanee $391,276.42)

* Supervised Release began on September 2, 2004, in the Southern District of Florida.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant shall not illegally possess a controlled substance.

On December l 2, 2004, Lee Bradford Arberg submitted a urine specimen which Was positive f`or the use of Cocaine.
As a sanction, the Probation Office for the Southern District of` Florida has recommended that the defendant shall
serve fifty (50) hours of Community Service Work. Mr. Arberg signed the attached Probation Form 49, (Waiver
of Hearing to Modify Conditions of ProbationfSupervised Release), agreeing to have his conditions modified to
require fifty (50) hours of Community Service Work.

PRAYING TI-IAT THE COURT WILL ORDER that a Special Condition is added to require Lee Bradford

Arberg to serve fifty (5()) hours of Community Service Work ata rate of ten (10) hours per month as directed by
the Probation Officer.

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Considered and ordered 5 day \k ¢ d% ' O,m/`”)
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filed and a a part of the records in United States P bation Officer

the above case. gm `
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UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT OFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of` the document docketed as number 55 in
case 2:02-CR-20357 Was distributed by f`aX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

LaWrence J. Laurenzi

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

